   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-410 (Rev. 04/18)                                                                                          Chapter DOC 310


                                                  ICE RECEIPT
                                      COMPLAINT NUMBER WCI-2023-14913
                                         * * * ICRS CONFIDENTIAL * * *

        To: FLEMMING, JAYVON R. - #556607
            UNIT: _N-_B -- _B52-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351



        Complaint Information:
           Date Complaint Acknowledged:     10/04/2023
           Date Complaint Received:         10/04/2023
           Subject of Complaint:        22 - Dental

           Brief Summary:               complains he is being denied dental care

            This is to acknowledge the complaint you filed which was received on the date indicated. Depending on
            the nature of the complaint, you may or may not be interviewed by the ICE. A recommendation on the
            complaint will be made and submitted to the appropriate reviewing authority within 30 days of
            acknowledgement. A decision will be made by the appropriate reviewing authority within 15 days following
            receipt of the recommendation unless extended for cause.
                Please write to the ICE if this issue is resolved before you receive an answer.




Print Date: October 04, 2023                                 Page 1 of 1                        Institution Complaint Examiner's Office
                                                      ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
                   Case 2:23-cv-01430-WED Filed 03/25/24 Page 1 of 25 Document    1010 - 1
                                                                               32-11
   DEPARTMENT OF CORRECTIONS                                                                                        WISCONSIN
   Department of Adult Institutions                                                                           Administrative Code
   DOC-401 (Rev. 04/18)                                                                                         Chapter DOC 310

                                                   ICE REPORT
                                      COMPLAINT NUMBER WCI-2023-14913
                                         * * * ICRS CONFIDENTIAL * * *

        To: FLEMMING, JAYVON R. - #556607
            UNIT: _N-_B -- _B52-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information:
          Date Complaint Acknowledged: 10/04/2023                                        Inmate Contacted? No

          Date Complaint Received:       10/04/2023
          Subject of Complaint:          22 - Dental

          Person(s) Contacted:           AHSM Haseleu

          Document(s) Relied Upon:       DOC 310

          Brief Summary:                 complains he is being denied dental care

          Summary of Facts:              BK Inmate Flemming complains he is being denied dental care and he has an
                                         emergency situation. A tooth is broken off and causing severe pain.

                                         AHSM Haseleu was contacted and provided Dr Jerome's response. Dr Jerome
                                         states that Inmate Flemming was added to the waitlist for extraction on
                                         9/7/2023 after submitting request on 9/2/2023. Dr Jerome further states that
                                         their goal is to see patients on the Essential list within 8 weeks and they are
                                         currently seeing patients about that time and Inmate Flemming should be put
                                         on schedule soon.

                                         The speed with which one is seen depends on a combination of factors -
                                         including urgency of need and the number of inmates on the list who have a
                                         more urgent need. If the complainant's condition changes or if he has not fully
                                         revealed the details, he will need to contact HSU with the additional
                                         information. The speed with which one is seen depends on a combination of
                                         factors - including urgency of need and the number of inmates on the list who
                                         have a more urgent need. If the complainant's condition changes or if he has
                                         not fully revealed the details, he will need to contact HSU with the additional
                                         information.
          ICE Recommendation:            Dismissed

          Recommendation Date:           10/09/2023




Print Date: October 11, 2023                                  Page 1 of 2                      Institution Complaint Examiner's Office
                                                       ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
                   Case 2:23-cv-01430-WED Filed 03/25/24 Page 2 of 25 Document    1010 - 2
                                                                               32-11
   DEPARTMENT OF CORRECTIONS                                                                             WISCONSIN
   Department of Adult Institutions                                                                Administrative Code
   DOC-401 (Rev. 04/18)                                                                              Chapter DOC 310

                                                   ICE REPORT
                                      COMPLAINT NUMBER WCI-2023-14913
                                         * * * ICRS CONFIDENTIAL * * *




                                         B. Kolb - Institution Complaint Examiner




Print Date: October 11, 2023                                Page 2 of 2             Institution Complaint Examiner's Office
                                                     ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
                   Case 2:23-cv-01430-WED Filed 03/25/24 Page 3 of 25 Document    1010 - 3
                                                                               32-11
   DEPARTMENT OF CORRECTIONS                                                                                        WISCONSIN
   Department of Adult Institutions                                                                           Administrative Code
   DOC-403 (Rev. 04/18)                                                                                        Chapter DOC 310

                                      REVIEWING AUTHORITY'S DECISION
                                      COMPLAINT NUMBER WCI-2023-14913
                                         * * * ICRS CONFIDENTIAL * * *

        To: FLEMMING, JAYVON R. - #556607
            UNIT: _N-_B -- _B52-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information:
          Date Complaint Acknowledged: 10/04/2023
          Date Complaint Received:         10/04/2023
          Subject of Complaint:            22 - Dental
          Brief Summary:                   complains he is being denied dental care
          ICE's Recommendation:            Dismissed
          Reviewer's Decision:             Dismissed

          Decision Date:                   10/11/2023




                                          A. Panos - Reviewing Authority

          A complainant dissatisfied with a decision may, within 14 days after the date of the decision, appeal that
          decision by filing a written request for review with the Corrections Complaint Examiner on form DOC-405
          (DOC 310.12, Wis. Adm. Code).




Print Date: October 11, 2023                                    Page 1 of 1                                        Reviewer's Office
                                                         ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
                   Case 2:23-cv-01430-WED Filed 03/25/24 Page 4 of 25 Document    1010 - 4
                                                                               32-11
   DEPARTMENT OF CORRECTIONS                                                                                              WISCONSIN
   Department of Adult Institutions                                                                                 Administrative Code
   DOC-405A (Rev. 04/18)                                                                                              Chapter DOC 310


                                                  CCE RECEIPT
                                      COMPLAINT NUMBER WCI-2023-14913
                                         * * * ICRS CONFIDENTIAL * * *

        To: FLEMMING, JAYVON R. - #556607
            UNIT: _N-_B -- _B52-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information:
          Date Appeal Acknowledged:         10/20/2023

           Date Appeal Received:            10/20/2023
          Subject of Complaint:             22 - Dental

           Brief Summary:                   complains he is being denied dental care

           Your request for review has been received.

           The Corrections Complaint Examiner (CCE) has 35 days to submit a recommendation to the Office of the
           Secretary (OOS) for Review. The OOS has 45 days to make a decision after receiving the CCE's report. The
           OOS may extend the time for making a decision for cause and upon notice to all interested parties.

           If you do not receive a decision or other notices within that time, you may write directly to:
                                      Secretary of the Department of Corrections
                                      Post Office Box 7925
                                      Madison, WI 53707-7925




Print Date: October 20, 2023                                     Page 1 of 1                        Corrections Complaint Examiner's Office
                                                          ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
                   Case 2:23-cv-01430-WED Filed 03/25/24 Page 5 of 25 Document    1010 - 5
                                                                               32-11
   DEPARTMENT OF CORRECTIONS                                                                                        WISCONSIN
   Department of Adult Institutions                                                                           Administrative Code
   DOC-2771 (Rev. 04/18)                                                                                        Chapter DOC 310


                                               APPEAL EXTENSION
                                      COMPLAINT NUMBER WCI-2023-14913
                                         * * * ICRS CONFIDENTIAL * * *

       To: FLEMMING, JAYVON R. - #556607
           UNIT: _S-_E -- _E30-_U
           WAUPUN CORRECTIONAL INSTITUTION
           PO Box 351
           WAUPUN, WI 53963-0351




       Complaint Information:
          Date Appeal Acknowledged:      10/20/2023

          Date Appeal Received:          10/20/2023
          Subject of Complaint:          22 - Dental

          Brief Summary:                 complains he is being denied dental care


          This is to notify you that, pursuant to DOC 310.13(1), Wis. Admin. Code, the Office of Secretary has extended the
          time for deciding this appeal for cause, effective 11/24/2023. This extension is necessary in order to fully
          investigate the appeal.

          Your administrative remedies will not be exhausted until the Office of Secretary makes a decision on the appeal.
          You may expect an appeal decision within 90 days.




                                         M. Greenwood
                                         Corrections Complaint Examiner Program Assistant




Print Date: November 28, 2023                                 Page 1 of 1                     Corrections Complaint Examiner's Office
                                                       ** ICRS CONFIDENTIAL **
                                                                         EXHIBIT
                  Case 2:23-cv-01430-WED Filed 03/25/24 Page 6 of 25 Document    1010 - 6
                                                                              32-11
   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-404 (Rev. 04/18)                                                                                          Chapter DOC 310


                                                  CCE REPORT
                                      COMPLAINT NUMBER WCI-2023-14913
                                         * * * ICRS CONFIDENTIAL * * *

       To: FLEMMING, JAYVON R. - #556607
           UNIT: _S-_E -- _E30-_L
           WAUPUN CORRECTIONAL INSTITUTION
           PO Box 351
           WAUPUN, WI 53963-0351




       Complaint Information:
          Date Appeal Acknowledged:      10/20/2023
          Date Appeal Received:          10/20/2023
          Subject of Complaint:          22 - Dental
          Brief Summary:                 complains he is being denied dental care
          Method of Disposition:            Review on Record? Yes                                 Investigation? No

          Person(s) Contacted:           BHS Dental Director

          Document(s) Relied Upon:       Complaint, submission, appeal, chart provided

          CCE's Recommendation:          Dismissed
                                         A review of the record with the BHS Dental Director indicated the patient is not
                                         being denied care. The patient has an existing health condition that requires a
                                         complete blood count (CBC) test prior to the extraction of the tooth. Dental
                                         records indicate the patient has repeated refused a CBC. This is required
                                         before an extraction occurs.

          Recommendation Date:          11/30/2023




                                         E. Davidson - Corrections Complaint Examiner




Print Date: December 21, 2023                                 Page 1 of 1                      Corrections Complaint Examiner's Office
                                                       ** ICRS CONFIDENTIAL **
                                                                         EXHIBIT
                  Case 2:23-cv-01430-WED Filed 03/25/24 Page 7 of 25 Document    1010 - 7
                                                                              32-11
   DEPARTMENT OF CORRECTIONS                                                                                  WISCONSIN
   Department of Adult Institutions                                                                     Administrative Code
   DOC-403 (Rev. 04/18)                                                                                   Chapter DOC 310


                                       OFFICE OF SECRETARY DECISION
                                      COMPLAINT NUMBER WCI-2023-14913
                                         * * * ICRS CONFIDENTIAL * * *


       To: FLEMMING, JAYVON R. - #556607
           UNIT: _S-_E -- _E30-_L
           WAUPUN CORRECTIONAL INSTITUTION
           PO Box 351
           WAUPUN, WI 53963-0351




       Complaint Information:
          Date Appeal Acknowledged:       10/20/2023
          Date Appeal Received:           10/20/2023
          Subject of Complaint:           22 - Dental
          Brief Summary:                  complains he is being denied dental care

         OOS Decision:                    Dismissed

          Decision Comments:              The following is the Secretary's decision on the Corrections Complaint
                                          Examiner's recommendation of 11/30/2023 in the above appeal: The attached
                                          Corrections Complaint Examiner's recommendation to DISMISS this appeal is
                                          accepted as the decision of the Secretary.
          Decision Date:                 12/20/2023




                                         C. O'Donnell - Office of the Secretary




Print Date: December 21, 2023                                  Page 1 of 1                               Office of the Secretary
                                                        ** ICRS CONFIDENTIAL **
                                                                         EXHIBIT
                  Case 2:23-cv-01430-WED Filed 03/25/24 Page 8 of 25 Document    1010 - 8
                                                                              32-11
                                                                                                      GENERAL REPORT
                                                                                                        WCI-2023-14913
                                                State of Wisconsin
                                                  Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

        Complaint Information:
           Date Complaint Acknowledged:       October 04, 2023
              Date Complaint Received:        October 04, 2023
              Subject of Complaint:         22 - Dental

              Brief Summary:                complains he is being denied dental care

        ICE Recommendation Information:        (Signed on 10/9/23 1:27:17PM):
              Person(s) Contacted:          AHSM Haseleu
              Document(s) Relied Upon:      DOC 310
              ICE's Summary of Facts:       BK Inmate Flemming complains he is being denied dental care and he has
                                            an emergency situation. A tooth is broken off and causing severe pain.

                                            AHSM Haseleu was contacted and provided Dr Jerome's response. Dr
                                            Jerome states that Inmate Flemming was added to the waitlist for extraction
                                            on 9/7/2023 after submitting request on 9/2/2023. Dr Jerome further states
                                            that their goal is to see patients on the Essential list within 8 weeks and they
                                            are currently seeing patients about that time and Inmate Flemming should be
                                            put on schedule soon.

                                            The speed with which one is seen depends on a combination of factors -
                                            including urgency of need and the number of inmates on the list who have a
                                            more urgent need. If the complainant's condition changes or if he has not
                                            fully revealed the details, he will need to contact HSU with the additional
                                            information. The speed with which one is seen depends on a combination of
                                            factors - including urgency of need and the number of inmates on the list who
                                            have a more urgent need. If the complainant's condition changes or if he has
                                            not fully revealed the details, he will need to contact HSU with the additional
                                            information.

              ICE's Recommendation:         Dismissed
              ICE's Recommendation Date: October 09, 2023

        RA's Decision Information:      (Signed on 10/11/23 8:02:01AM):
              RA's Decision:                Dismissed
              RA's Decision Date:           October 11, 2023




Print Date: January 03, 2024                                 Page 1 of 2
                                                     ** ICRS CONFIDENTIAL **
                                                                         EXHIBIT
                  Case 2:23-cv-01430-WED Filed 03/25/24 Page 9 of 25 Document    1010 - 9
                                                                              32-11
                                                                                                    GENERAL REPORT
                                                                                                      WCI-2023-14913
                                                 State of Wisconsin
                                                  Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

        Appeal to CCE Information:
              Date Appeal Acknowledged:      October 20, 2023
              Date Appeal Received:          October 20, 2023

        CCE's Recommendation Information:         (Signed on 11/30/23 10:53:09AM):
              Person(s) Contacted:           BHS Dental Director
              Document(s) Relied Upon:       Complaint, submission, appeal, chart provided
              CCE's Summary:                 A review of the record with the BHS Dental Director indicated the patient is
                                             not being denied care. The patient has an existing health condition that
                                             requires a complete blood count (CBC) test prior to the extraction of the
                                             tooth. Dental records indicate the patient has repeated refused a CBC. This
                                             is required before an extraction occurs.

              CCE's Recommendation:          Dismissed
              CCE's Recommendation Date: November 30, 2023

        OOS' Decision Information:       (Signed on 12/20/23 3:10:48PM):
              OOS' Summary:                  The following is the Secretary's decision on the Corrections Complaint
                                             Examiner's recommendation of 11/30/2023 in the above appeal: The
                                             attached Corrections Complaint Examiner's recommendation to DISMISS
                                             this appeal is accepted as the decision of the Secretary.

              OOS' Decision:                 Dismissed
              OOS' Decision Date:            December 20, 2023




Print Date: January 03, 2024                                 Page 2 of 2
                                                     ** ICRS CONFIDENTIAL **
                                                                       EXHIBIT
                 Case 2:23-cv-01430-WED Filed 03/25/24 Page 10 of 25 Document  1010 - 10
                                                                              32-11
                                                                   State of Wisconsin
                                                                     Department of Corrections

                                                               DISTRIBUTION ITEMS
                                                       for COMPLAINT NUMBER WCI-2023-14913
        Item                          Create Date             Created By          Sent To            Inmate ID          Print Date                Printed By
ICE Receipt                    10/04/2023 7:42:05AM    Brian Kolb                WCI                   556607    10/04/2023 1:55:21PM      Tonia Moon
ICE Report                     10/11/2023 8:02:01AM    Angelo Panos              WCI                   556607    10/11/2023 2:08:03PM      Brian Kolb
RA Report                      10/11/2023 8:02:01AM    Angelo Panos              WCI                   556607    10/11/2023 2:08:03PM      Brian Kolb
CCE Receipt                    10/20/2023 10:13:54AM   Matthew Greenwood         WCI                   556607    10/20/2023 10:26:27AM     Brian Kolb
Appeal Extension               11/25/2023 12:10:07AM   Matthew Greenwood         WCI                   556607    11/28/2023 1:00:52PM      Brian Kolb
CCE Report                     12/20/2023 3:10:49PM    Cindy O'Donnell           WCI                   556607    12/21/2023 11:38:21AM     Brian Kolb
OOS Report                     12/20/2023 3:10:49PM    Cindy O'Donnell           WCI                   556607    12/21/2023 11:38:22AM     Brian Kolb




Print Date: January 03, 2024                                                      Page 1 of 1
                                                                           ** ICRS CONFIDENTIAL **

                                      Case 2:23-cv-01430-WED Filed 03/25/24 Page 11 of 25 Document 32-11                                 EXHIBIT 1010 - 11
                                                      EXHIBIT32-11
Case 2:23-cv-01430-WED Filed 03/25/24 Page 12 of 25 Document  1010 - 12
                                                      EXHIBIT32-11
Case 2:23-cv-01430-WED Filed 03/25/24 Page 13 of 25 Document  1010 - 13
                                                      EXHIBIT32-11
Case 2:23-cv-01430-WED Filed 03/25/24 Page 14 of 25 Document  1010 - 14
                                                      EXHIBIT32-11
Case 2:23-cv-01430-WED Filed 03/25/24 Page 15 of 25 Document  1010 - 15
                                                      EXHIBIT32-11
Case 2:23-cv-01430-WED Filed 03/25/24 Page 16 of 25 Document  1010 - 16
                                                      EXHIBIT32-11
Case 2:23-cv-01430-WED Filed 03/25/24 Page 17 of 25 Document  1010 - 17
                                                      EXHIBIT32-11
Case 2:23-cv-01430-WED Filed 03/25/24 Page 18 of 25 Document  1010 - 18
                                                      EXHIBIT32-11
Case 2:23-cv-01430-WED Filed 03/25/24 Page 19 of 25 Document  1010 - 19
                                                      EXHIBIT32-11
Case 2:23-cv-01430-WED Filed 03/25/24 Page 20 of 25 Document  1010 - 20
                                                      EXHIBIT32-11
Case 2:23-cv-01430-WED Filed 03/25/24 Page 21 of 25 Document  1010 - 21
-cv-01430-WED Filed EXHIBIT
                    03/25/24 1010
                              Page- 22
                                    22 of 25 Docum
-cv-01430-WED Filed EXHIBIT
                    03/25/24 1010
                              Page- 23
                                    23 of 25 Docum
11/15/2023

==================================================

= Note#1 [Administrative] [Dental Service Request] = *Pg1 - 12:02:54 PM [DRSMESTAD] [WCI]
==================================================

Dental Service Request form received.

ESS. Wants tooth out. Was removed from list after verbal report from nursing that CBC was refused.
Must consent to CBC before extraction.



----- Signed on Wednesday, November 15, 2023 at 12:06:52 -----

----- Provider: DRJEROME - Robert T. Jerome, Dr. -- Clinic: WCI -----




10/12/2023

==================================================

= Note#1

= *Pg1 - 08:21:23 AM [DRJEROME] [WCI]

==================================================

Limited oral evaluation



Intraoral-periapical-1st film



P: pain in upper left

Hx: NCT

Eval: #16 is a root tip and is unsavable. The patient wants it out. His chart lists severe anemia but no CBC
is available. He reports no easy bleeding, but does have lightheadedness. I let him know that we will
need a CBC prior to extraction and that offsite referral may be needed. I spoke with nursing and they
reported that the last blood count was refused and ordered another.



Tylenol ordered




                                                             EXHIBIT
       Case 2:23-cv-01430-WED Filed 03/25/24 Page 24 of 25 Document  1010 - 24
                                                                    32-11
        ----- Signed on Thursday, October 12, 2023 at 08:42:57 -----

        ----- Provider: DRJEROME - Robert T. Jerome, Dr. -- Clinic: WCI -----




        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~

        ~ *Pg2 - 08:46:13 AM [DRJEROME] [WCI]

        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~

        Medical Alert: Anemia

        Change Type: Added

        Original Entry Date: 10/12/2023

        Severity: Unknown

        Notes:



        Medical Alert: Anemia

        Change Type: Edit

        Original Entry Date: 10/12/2023

        Severity: Unknown

        Notes:



        Medical Alert: Anemia

        Change Type: Edit

        Original Entry Date: 10/12/2023

        Severity: Unknown

        Notes: Severe Anemia




        ----- Signed on Tuesday, October 17, 2023 at 09:57:14 -----

        ----- Provider: DRJEROME - Robert T. Jerome, Dr. -- Clinic: WCI -----



                                                      EXHIBIT
Case 2:23-cv-01430-WED Filed 03/25/24 Page 25 of 25 Document  1010 - 25
                                                             32-11
